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                                                                                                     E-FILED
                                                                   Wednesday,EXHIBIT
                                                                              09 June,
                                                                                     D 2021 11:30:00 AM
                                                                           Clerk, U.S. District Court, ILCD

047768/21061/JNR/BJC

                          United States District Court
                     Central District of Illinois, Springfield Division

DWIGHT LONG,

                         Plaintiff,

V.

TERRY MARTIN, WEXFORD HEALTH
                                                          No. 19-CV-3195
SOURCES, INC., CRAIG A. FOSTER, DR.
FRANCIS KAYIRA, DR. LOUIS SHICKER,
WHITE #5603, T. MASKE, S. HOWARD, and
KIMBERLY BARBEE,

                         Defendants.

                                       DECLARATION

       I, DR. FRANCIS KAYIRA, being first duly sworn upon my oath, soundly affirm the

following statements:

       (1)     Before I retired in December of 2020, I was a physician licensed to practice

medicine in the State of Illinois. From 2001 until my retirement, I was employed by Wexford

Health Sources, Inc. as the facility medical director at Graham Correctional Center (Graham). As

medical director, I would generally manage the healthcare needs of the offenders housed at

Graham as their primary care physician.

       (2)     I am familiar with the allegations against me by former patient Dwight Long. I

reviewed the records in relation to these allegations. These records were made at or near the time

of the events depicted therein by persons with knowledge. These records are maintained in the

ordinary course of business of the Illinois Department of Corrections.
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        (3)    According to the records, Mr. Long has had a history of bilateral shoulder pain

since, at least, January, 2014. [Exhibit A, Medical Records of Dwight Long, pg. 66, 84, 103-11,

576].

        (4)    On June 25, 2014, Mr. Long was evaluated at Lawrence Correctional Center

(Lawrence) for physical therapy in relation to his shoulder pain. According to the records, Mr.

Long reported a history of trauma to his shoulder while serving in the U.S. military, and that his

right shoulder had been dislocated in the past. [Exhibit A, pg. 97].

        (5)    On September 21, 2016, Mr. Long transferred from Lawrence to Graham. At the

time of his transfer, his shoulder pain was not included on the list of current conditions. [Exhibit

A, pg. 245-247].

        (6)    On October 25, 2016, at approximately 3:00 p.m., I treated Mr. Long after he

reported to the Graham Healthcare Unit (HCU) with reports of blood in his urine, also known as

hematuria. [Exhibit A, pg. 255,258].

        (7)    Mr. Long informed me that he had first observed the hematuria the day prior, but

had not experienced any significant pain attendant to the hematuria. He did, however, express

slight discomfort to the right side of his si^rapubic area. [Exhibit A, pg. 255].

        (8)    I examined Mr. Long, and noted his abdomen was soft and exhibited normal

bowel sounds. I palpated his abdomen and identified no unusual masses. [Exhibit A, pg. 255].

        (9)    I assessed Mr. Long with gross hematuria and ordered a Complete Blood Test

(CBC) with erythrocyte sedimentation rate (sed rate). I also noted that I would contact a urologist

regarding Mr. Long’s hematuria. [Exhibit A, pg. 255].

        (10)   The next morning I contacted a urologist to consult regarding Mr. Long’s

hematuria. On advice of that urologist, I ordered Mr. Long to be sent to St. John’s Hospital for




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evaluation. According to the records, Mr. Long left Graham for St. John’s Hospital around 10:25

a.m. [Exhibit A, pg. 256].

       (11)    At St. John’s, Mr. Long received an abdominal X-ray as well as abdominal CT

scans, with and without contrast. [Exhibit A, pg. 682-83].

       (12)    The abdominal X-ray showed no abnormalities in Mr. Long’s bladder, collecting

systems, or ureters that would explain his hematuria. [Exhibit A, pg. 682].

       (13)    Similarly, the CT scans showed a three mm renal cyst and an enlarged prostate

but otherwise no abnormalities. [Exhibit A, pg. 683].

       (14)    Dr. Shreya Lankala, who treated Mr. Long at St. John’s determined that his

hematuria did not constitute an emergency and discharged him back to Graham on October 26,

2016. Dr. Lankala advised Mr. Long to follow up with his primary care physician in three days

and to see a urologist at SIU in one week. [Exhibit A, pg. 680].

       (15)    I saw Mr. Long again on October 28,2016. [Exhibit A, pg. 259].

       (16)    At that point, Mr. Long’s hematuria had abated. I noted that Mr. Long’s

presentation was unremarkable on that day, indicating he was not in any apparent distress, or

otherwise display notable signs or symptoms of serious injury or illness. [Exhibit A, pg. 259].

       (17)    Although Mr. Long’s hematuria had abated, I prescribed him an oral antibiotic

(Bactrim DS) to address the possibility that his hematuria had been caused by a urinary infection.

Additionally, 1 referred Mr. Long to see a urologist, as recommended by Dr. Lankala. [Exhibit A,

pg. 259].

       (18)    On November 1, 2016, according to the records, Mr. Long reported hematuria to a

licensed practical nurse (LPN), who contacted me. According to the LPN’s note, the hematuria




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occurred around 2:00 p.m. but Mr. Long did not report any pain or discomfort at the time.

[Exhibit A, pg. 260].

        (19)   The LPN notified me, and I discontinued Mr. Long’s prescription of Bactrim DS.

In its place, I prescribed another oral antibiotic, Cipro, for ten days. Additionally, I asked the

LPN to schedule Mr. Long to see me the following day so I could evaluate his condition.

[Exhibit A, pg. 260].

        (20)   On November 2, 2016, I examined Mr. Long for his hematuria complaints. I

noted no lesions present on his penis, or any other objectively observable causes of the

hematuria. As there was no visibly apparent external cause for the hematuria, I recommended

Mr. Long for a cystoscopy when he was to see a urologist. [Exhibit A, pg. 261].

        (21)   A cystoscopy is an endoscopic procedure used to visualize the urethra and

bladder. The procedure is carried out by inserting a camera at the end of a flexible tube through

the urethra and eventually into the bladder. It is generally done under local anesthetic.

        (22)   The following day, on November 3, 2016,1 referred Mr. Long to see a urologist.

Dr. Nayak, at the Effingham Urology Department. [Exhibit A, pg. 262, 684, 688].

        (23)   Mr. Long was sent to see Dr. Nayak on November 7, 2016. Dr. Nayak

recommended a cystoscopy and a PSA test, which is a blood test used to screen for prostate

cancer. [Exhibit A, pg. 692].

        (24)   I approved Dr. Nayak’s recommendation on November 9, 2016. [Exhibit A, pg.

688].

        (25)   On November 10, 2016, I saw Mr. Long for a medical furlough follow up

appointment. During that encounter, Mr. Long had no complaints and his presentation was

unremarkable. I noted that he had a recent history of recurrent hematuria, but noted no current




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hematuria. At that time, our course of treatment was to follow the recommendations of Mr.

Long’s urologist, Dr. NayaL [Exhibit A, pg. 265].

       (26)    On November 16, 2016, according to the records Mr. Long returned to the HCU

to report that his hematuria had returned. The nurse to whom Mr. Long reported indicated that he

was scheduled to be seen by a urologist for the recommended cystoscopy. [Exhibit A, pg. 266].

       (27)    When a patient is referred for specialized medical care, like a urologist, the

specialist’s office will schedule the patient’s appointment based on availability and urgency. For

security reasons, an inmate is generally not informed of die exact date of the medical furlough.

       (28)    According to the medical records, Mr. Long returned to the HCU on December 2,

2016. At that time, a nurse noted that Mr. Long was angry because he felt that he was not

receiving care for his hematuria. Mr. Long reported continued hematuria and unspecified pain.

[Exhibit A, pg. 268].

       (29)    The nurse to whom Mr. Long reported contacted me to relay his concerns. I noted

at the time that Mr. Long was already scheduled to see his urologist for the recommended

diagnostic tests and continued current management plan pending further tests. I also prescribed

Proscar, for three months, to help address Mr, Long’s enlarged prostate. Mr. Long had taken it in

the past and expressed a desire to resume. [Exhibit A, pg. 268].

       (30)    On December 9, 2016, according to the records, Dr. Nayak performed Mr. Long’s

cystoscopy. Dr. Nayak identified a bladder neck mass and recommended cysto/bilateral

retrograde pyelogram/bladder neck resection. [Exhibit A, pg. 685, 688, 690].

       (31)    On December 12, 2016, I saw Mr. Long for another follow up appointment. At

that time, Mr. Long did not report any pain or other complaints. His objective presentation was




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unremarkable. I indicated at the time that our plaimed course of treatment was to follow the

recommendations of Mr. Long’s treating urologist. [Exhibit A, pg. 270].

       (32)    On January 11, 2017, Mr. Long was taken back to St. Anthony’s Hospital in

Effingham, where Dr. Nayak performed a trans-urethral resection of the bladder neck mass and a

prostate biopsy. Dr. Nayak recommended that Mr. Long continue taking Proscar,

hydrochlorothiazide (HCTZ), Norco, Cozaar, Pyridium (also known as phenazopyridine).

Prazosin, Zocor, and Flomax. [Exhibit A, pg. 694-95].

       (33)    Mr. Long returned to Graham the following morning, on January 12, 2017. The

nurse who admitted Mr. Long to the Graham infirmary upon his return notified me of his status. I

prescribed Mr. Long Proscar, HCTZ, Norco, Cozaar, phenazopyridine, Prazosin, Zocor, and

Flomax, per Dr. Nayak’s recommendations. [Exhibit A, pg. 281-82],

       (34)    At the time, Mr. Long had a Foley catheter in place, which allowed for the

elimination of waste through his urethra into a waste bag. [Exhibit A, pg. 281].

       (35)    Mr. Long was kept in the Graham infirmary from January 12 to January 18,2017.

During that time, he was closely monitored and administered as-needed pain medication.

[Exhibit A, pg. 282-304].

       (36)    Beginning on January 14, 2017, according to the records, nurses consistently

noted no observable blood in Mr. Long’s urine. Nurses described the urine draining into the

catheter bag as yellow-to-orange in color. [Exhibit A, pg. 287-89].

       (37)    On January 16, 2017, Mr. Long’s catheter was removed without difficulty. The

nurse who performed the removal procedure noted that Mr. Long’s urine was orange at the time,

with no signs of hematuria. [Exhibit A, pg. 293].




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       (38)     By January 18, 2017, Mr. Long’s hematuria resolved and I determined that it was

safe to discharge him back to his housing unit. I felt this was appropriate as Mr. Long had

reported feeling well and he had requested to be discharged the previous day. [Exhibit A, pg.

298-99, 303].

       (39)     The next day, on January 19, 2017, I referred Mr. Long for a follow-up

appointment with his urologist. Dr. Nayak. [Exhibit A, pg. 800].

       (40)     According to the records, Mr. Long returned to the HCU on January 25, 2017,

with complaints of bloody urine. Mr. Long was temporarily placed in the HCU for 24 hours so

his condition could be more closely monitored. [Exhibit A, pg. 307-11].

       (41)     On January 26, 2017, a nurse notified me of Mr. Long’s recurrence of hematuria.

I contacted his urologist, Dr. Nayak, who advised me to send Mr. Long to St. Anthony’s

emergency department. I ordered that Mr. Long be sent out to St. Anthony’s and the medical

records reflect he left Graham by 9:45 a.m. [Exhibit A, pg. 312-13].

       (42)     Dr. Nayak held Mr. Long overnight at St. Anthony’s for observation but

discharged him back to Graham on January 27, 2017. During his stay, a Foley catheter was

placed, and Dr. Nayak ordered that it be discontinued on February 1, if Mr. Long’s urine was

clear by that time. Dr. Nayak also recommended that Mr. Long continue taking acetaminophen

(500 mg). Proscar, HCTZ, Pyridium, Prazosin, Simvastatin, Bactrim DS, and Flomax. Finally,

Dr. Nayak scheduled a follow up appointment on February 24, 2017. [Exhibit A, pg. 707-08].

       (43)     When Mr. Long returned to Graham on January 27, he was re-admitted to the

infirmary where his condition could be closely monitored, and his pain management needs

attended to. [Exhibit A, pg. 314-15. 318-19].




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       (44)    By the morning of January 28, according to the medical records, Mr. Long’s

hematuria had resolved and his urine was noted as orange in color, without any blood clots

present. [Exhibit A, pg. 317-28].

       (45)    On February 1, 2017, Mr. Long’s catheter was removed per Dr. Nayak’s

recommendation. The nurse who performed the removal noted that there was no hematuria

present at the time. [Exhibit A, pg. 327].

       (46)    That day, when I discharged Mr. Long from the infirmary, I noted that Mr. Long

had not experienced recurrence of hematuria and determined that his hematuria had resolved. I

believed it was safe for Mr. Long to return to his housing unit. [Exhibit A, pg. 329].

       (47)    On February 8, 2017, around 1:00 p.m., according to the records, Mr. Long

returned to the HCU to report his hematuria had returned. I contacted Dr. Nayak’s office, but Dr.

Nayak was out of town at the time. A nurse at his office, however, was able to reach Dr. Nayak

by telephone. Dr. Nayak advised me to send Mr. Long to St. John’s emergency department.

[Exhibit A, pg. 335].

       (48)    Mr. Long was sent to St. John’s Hospital that afternoon. [Exhibit A, pg. 336].

        (49)   At St. John’s, Dr. Ahmed El-Zawahry performed another cystoscopy, as well as a

clot evacuation and fiilguration of bleeders on February 9, 2017. Fulguration is a procedure that

uses heat from an electric current to destroy abnormal tissue, such as a tumor or other lesion. It

can also be used to cauterize an internal injury. [Exhibit A, pg. 720, 733-35].

        (50)   Mr. Long was discharged from St. John’s hospital on February 11, 2017, with

instructions to follow up with Dr. Nayak in two weeks. [Exhibit A, pg. 719],

        (51)   On February 14, 2017, I had a follow up appointment with Mr. Long regarding

his medical furlough to St. John’s Hospital. [Exhibit A, pg. 337].




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        (52)    On that day, I noted that Mr. Long’s hematuria had resolved, and he was no

longer experiencing blood in his urine. I noted that we would continue to follow the

recommendations of Mr. Long’s urologist Dr. Nayak. [Exhibit A, pg. 337].

        (53)    On February 24, 2017, according to the records, Mr. Long was sent on a medical

furlou^ to his urologist’s office. The provider who Mr. Long saw recommended a PSA, a urine

culture test, a urine cytology test, and a repeat cystoscopy in six months. [Exhibit A, pg. 342-43,

800].

        (54)    I met with Mr. Long on Febmary 27, 2017, for a follow-up appointment.

following his medical furlough. At that time, Mr. Long did not express any healfii complaints,

but noted that he did not see Dr. Nayak during his February 24 medical furlough. [Exhibit A, pg.

343].

        (55)    I ordered the recommended tests and noted that we would continue to follow the

recommendations of Mr. Long’s urologist. [Exhibit A, pg, 343].

        (56)   Mr. Long’s cytology test was negative for malignancy [Exhibit A, pg. 799]. The

urine culture showed no signs of harmful bacteria or fungi, suggesting that Mr. Long had not

developed a urinary infection. [Exhibit A, pg. 1768]. The PSA test was conducted on March 7,

2017 and was also negative for malignancy. [Exhibit A, pg. 1769].

        (57)   According to his records, on March 24, 2017, Mr. Long returned to the HCU to

report pain when he was ruinating. At that time, Mr. Long was reportedly not experiencing any

blood in his urine. [Exhibit A, pg. 350].

        (58)   1 saw Mr. Long that day and assessed dysuria but not hematuria. Dysuria is pain

upon urination and can have several different causes. Most commonly, dysuria is caused by a

bacterial infection in the urinary tract. [Exhibit A, pg. 351].



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       (59)    I ordered another urine culture, to identify any potential infection, and contacted

Mr. Long’s urologist. [Exhibit A, pg. 351], Dr. Nayak indicated he could see Mr. Long on March

27. [Exhibit A, pg. 803].

       (60)    The urine culture was taken immediately. After five days, there were no signs of

growth. This indicated that infection was not likely the source of Mr. Long’s condition. [Exhibit

A,pg.l771].

       (61)    According to the records, Mr. Long saw Dr. Nayak on March 27,2017. Dr. Nayak

recommended Pyridium, 100 mg, twice a day for five days and Ditropan (a bladder relaxant), 5

mg twice a day for thirty days. I approved Dr. Nayak’s recommendations. Pyridium is an

analgesic used to relieve symptoms commonly associated with urinary tract infections, like

burning, pain, and frequent or urgent needs to urinate. [Exhibit A, pg. 352].

       (62)    On April 4, 2017, according to his records, Mr. Long returned to the HCU to

report that the medications recommended by Dr. Nayak were not working. I contacted Dr. Nayak

who recommended a 2% lidocaine gel, which Mr. Long could insert into his urethra to relieve

pain. Lidocaine is an anesthetic and would work to alleviate Mr. Long’s penile pain. I approved

Dr. Nayak’s recommendation, but we had to order the lidocaine gel as we did not keep it in

stock. [Exhibit A, pg, 353].

       (63)    According to the records, on April 10, 2017, Mr. Long returned to the HCU to

report that he was angry about the lidocaine gel order and informed a nurse that he would not use

it. The nurse instructed Mr. Long to return to the HCU when the gel arrived, at which point

someone would instruct him on its usage. [Exhibit A, pg. 356].

       (64)    On April 11, 2017, according to the records, Mr. Long was called to the med

window to receive the lidocaine gel. Mr. Long refused to accept it and stated he did not know




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how to use it. When the nurse began reading the instructions to him, he reportedly became

argumentative and stated he would not take the medication. Mr. Long eventually left without the

lidocaine gel. [Exhibit A, pg. 355-57].

       (65)    According to his medical records, Mr. Long again reported pain and difficulty

urinating to a nurse on April 14, 2017. The nurse referred Mr. Long to see a physician assistant

on an urgent basis. [Exhibit A, pg. 359].

       (66)    The same day, according to the records, Mr. Long saw physician assistant (PA)

Adensanya. PA Adensanya noted that Mr. Long was already taking Tylenol, 500 mg for his pain

and did not appear to be in any distress at the time. PA Adensanya referred Mr. Long to see an

MD on April 17,2017. [Exhibit A, pg. 359].

       (67)    On April 16, 2017, at approximately 10:40 a.m., according to his medical records,

Mr. Long returned to nurse sick call to report continued dysuria. According to the nurse’s note.

Mr. Long was irritable and insulting to healthcare staff. When a nurse offered Mr. Long

lidocaine gel, as recommended by Dr. Nayak, he again refixsed the medication, despite offers of

assistance. [Exhibit A, pg. 361-62].

       (68)    A nurse contacted me to report Mr. Long’s condition. I ordered that he be

temporarily housed in the HCU so his condition could be closely monitored. [Exhibit A, pg. 361-

62, 364-65].

       (69)    At 1:00 p.m., Mr. Long requested the placement of a Foley catheter. I approved

Mr. Long’s request, however, the two nurses who attempted to place the catheter were unable to

due to resistance in the urethra. [Exhibit A, pg. 366].

       (70)    Mr. Long was kept in the HCU overnight, where he periodically voided between

100-200 ml of dark yellow urine. [Exhibit A, pg. 367-69].



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       (71)    On April 17, 2017, according to the records, Mr. Long was sent out to see his

urologist. Dr. Nayak. [Exhibit A, pg. 371].

       (72)    I>r. Nayak reportedly performed another cystoscopy, at which point he was able

to visualize bulging of tiie urethra proximal to the meatus, indicating a urethral meatal stricture.

A urethral meatal stricture (or stenosis) is an abnormal narrowing of the opening of the urethra at

the external meatus of the penis. Dr. Nayak recommended Mr. Long receive another cystoscopy,

urethral dilation, and possible trans-urethral resection of the prostate to be performed on an out­

patient basis at a future date. [Exhibit A, pg. 832].

       (73)     When Mr. Long returned to Graham on April 17, I approved Dr. Nayak’s

recommendations. [Exhibit A, pg. 1876].

        (74)    According to his medical records, Mr. Long returned to the HCU on April 19,

2017, for an appointment with me. Mr. Long’s appointment was not scheduled until 12:30, but

Mr. Long arrived at approximately 10:00 a.m. When a certified medication technician (CMT)

advised Mr. Long of his appointment time, he reportedly briskly exited the HCU, with an erect

posture and steady gait. The CMT noted that Mr. Long’s range of movement appeared to be

within normal limits. [Exhibit A, pg. 373].

        (75)    At approximately 10:05 a.m., the CMT noted that Mr. Long was lying on the

ground outside the HCU. According to the records, Mr. Long was alert and oriented and not in

any apparent distress. He was assisted by two individuals to a wheelchair and returned to the

HCU. [Exhibit A, pg. 377].

        (76)     In the HCU, Mr. Long was reportedly uncooperative and refused to answer any

questions when a CMT attempted to assess his health. Instead, Mr. Long threatened staff with

lawsuits, and was verbally abusive and belligerent to staff. Mr. Long was advised that he could




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wait in the HCU until his 12:30 appointment or return at 12:30. At that point, Mr. Long

reportedly jumped out of the wheelchair and briskly exited the HCU. [Exhibit A, pg. 373-74].

       (77)     I saw Mr. Long around 12:50 p.m. on April 19, 2017.1 assessed Mr. Long with

abdominal pain related to his dysuria and a possible urinary tract infection. I prescribed Tylenol

#3 (a combination of acetaminophen and the narcotic codeine), and Norco (a combination of

acetaminophen and the narcotic hydrocodone) for his pain. I ordered a CBC with erythrocyte

sedimentation rate test to help identify possible infection, and prescribed an oral antibiotic.

Finally, I admitted Mr. Long to the Graham infirmary while awaiting feedback from Mr. Long’s

tirologist. Dr. Nayak. [Exhibit A, pg. 375, 383].

       (78)    The next day, on April 20, 2017, we contacted Dr. Nayak’s office and requested

an appointment for Mr. Long. The appointment was scheduled for April 25, 2017. [Exhibit A,

pg. 386].

       (79)    Mr. Long remained in the Graham infirmary from April 19 until his April 25

appointment with Dr. Nayak, so his condition could be closely monitored and his pain

management needs could be addressed. [Exhibit A, pg. 377-391].

       (80)    On April 25, 2017, according to the records. Dr. Nayak performed a cystourethral

dilatation, external Otis urethrotomy, and dilatation to address Mr. Long’s meatal stricture. Dr.

Nayak discharged Mr. Long back to Graham that same day. [Exhibit A, pg. 924-25,1878].

       (81)    I understand that the April 25,2017 procedure resolved Mr. Long’s hematuria and

dysuria, as I am not aware of any recurrences.

       (82)    On May 5, 2017, Mr. Long reported right shoulder and lower back pain. I

examined Mr. Long and noted that he expressed pain on deep palpation to his right shoulder. I

did not, however, observe any deformity. I ordered X-rays for his right shoulder and lumbar




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spine, and Motrin, 400 mg, twice a day for two weeks to manage his pain. This was the first time

Mr. Long reported shoulder or back pain to me following the April 19, 2017, incident in the

Graham HCU. [Exhibit A, pg. 402].

         (83)   The right shoulder X-ray showed mild to moderate osteoarthritis of the AC and

glenohumeral joints, but no acute bony fi'acture or dislocation. The lumbar spine X-ray showed

mild multi-level degenerative disc disease (DDD) in Mr. Long’s lower spine. [Exhibit A, pg.

1777].

         (84)   Osteoarthritis (also called degenerative joint disease or DJD) is a common wear

and tear disease that occurs when the cartilage that serves as the articulating surface and cushion

of the joints deteriorate. It is a common chronic condition and affects most individuals by the age

of 50, or earlier as a result of trauma. There is no cure but is typically treated by managing

S3miptoms, including maintaining strength, improving joint mobility and flexibility, and weight

management. Symptoms typically vary from time to time based on activity, strain of the joint.

and weather.

         (85)   DDD is the degeneration of the discs that comprise the spine, such that they are

no longer able to absorb shock as well, and cause mild, chronic pain. DDD commonly occurs in

people over time, as the discs comprising the spine dry out and crack as they age. Treatment for

DDD is intended to manage pain and prevent further degeneration. Typically, pain is managed

with over-the-counter pain and anti-inflammatory medication. Sometimes physical therapy may

be indicated as well.

         (86)   On June 1, 2017,1 saw Mr. Long for his complaints of shoulder and lower back

pain. I assessed osteoarthritis as the cause of his pain, and prescribed him Naproxen (a non-

steroid anti-inflammatory drug, or NSAID), 500 mg, for three months. Naproxen would help to




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relieve Mr. Long’s pain by reducing the inflanunation in his shoulder and lower back. [Exhibit

A,pg. 407].

        (87)   On June 21, 2017, I saw Mr. Long again. During this visit, he reported that the

Naproxen was not effective in managing his pain but did not want a different pain medication.

Instead, Mr. Long requested a referral for physical therapy. I renewed his current prescriptions

for an additional seven months and referred Mr. Long for a physical therapy evaluation. [Exhibit

A,pg.409].

        (88)   According to his medical records, Mr. Long received a physical therapy

evaluation at the Teamwork Rehab Department of Hillsboro Area Hospital on July 12, 2017. The

physical therapist who evaluated Mr. Long, Andrew Kamp, noted that he displayed restricted

range of motion in his shoulder, likely secondary to discomfort. The therapist indicated that Mr.

Long mi^t respond well to a program of activity modification to reduce discomfort and gentle

mobility assessed to restore comfortable function. [Exhibit A, pg. 844].

        (89)   According to his notes, Mr. Kamp discharged Mr. Long with a list of exercises he

was to perform daily as part of a home-exercise program (HEP). [Exhibit A, pg. 845].

        (90)   On July 13, 2017, I approved Mr. Kamp’s recommendations. [Exhibit A, pg.

846].

        (91)   On July 14, 2017,1 advised Mr. Long to follow the exercise protocol assigned by

his physical therapist. [Exhibit A, pg. 413].

        (92)   I saw Mr. Long for a follow-up appointment on August 17,2017. During that visit

Mr. Long stated that his right shoulder felt much better and requested physical therapy for his

lower back as well. I referred him for another physical therapy evaluation, this time for his lower

back. [Exhibit A, pg. 414].




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       (93)      According to the records, Mr. Long received that evaluation at the Hillsboro Area

Hospital on September 12, 2017. Mr. Kamp assigned a new set of exercises for Mr. Long,

intended to ameliorate his lower back pain. [Exhibit A, pg. 860-61].

       (94)      On November 28, 2017, according to the records, Mr. Long requested a renewal

of Naproxen for his arthritis and knee pain. His prescription was renewed. [Exhibit A, pg. 426-

27].

       (95)      On February 2, 2018, Mr. Long reported he was feeling much better, but was still

experiencing chronic pain in his right shoulder. I suspected that his osteoarHiritis had progressed,

possibly due to Mr. Long’s weightlifting activities, and ordered another ri^t shoulder X-ray.

[Exhibit A, pg. 432].

       (96)      The X-ray showed that Mr. Long’s osteoarthritis had progressed, as well as a Hill-

Sachs deformity of the glenohumeral head. A Hill-Sachs deformity makes a patient susceptible

to shoulder dislocations. I made a note to advise Mr. Long to limit his weightlifting activities at

our next visit. [Exhibit A, pg. 433].

       (97)      On February 27, 2018,1 saw Mr. Long to review the X-ray and advise Mr. Long

regarding his weightlifting exercises. 1 assessed osteoarthritis as the source of his shoulder pain

and noted the possibility of chronic shoulder dislocations. [Exhibit A, pg. 434].

        (98)     On April 2, 2018, Mr. Long informed me that his physical therapy exercises were

no longer helping with his right shoulder pain. I examined Mr. Long and noted no obvious signs

of bony deformity and no apparent muscle atrophy. 1 referred Mr. Long for a new physical

therapy evaluation, and on April 5, I referred Mr. Long to an orthopedic specialist. [Exhibit A,

pg. 436, 867].




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        (99)   Additionally, on April 19. while waiting for an available appointment from an

orthopedic specialist, I ordered a repeat ri^t shoulder X-ray to compare with Mr. Long’s

previous right shoulder X-rays. [Exhibit A, pg. 437].

       (100) The X-ray was taken on April 23, 2018, and confirmed moderate osteoarthritis in

Mr, Long’s right shoulder, but that there had been no significant change since the February 2018,

X-ray. [Exhibit A, pg. 1788].

       (101) On April 24, 2018, I saw Mr. Long to review the X-rays and explain their

significance. Mr. Long informed me that the pain was worse at night, and that he sometimes

experienced painful muscle spasms in his right shoulder, as well. [Exhibit A, pg. 438].

       (102) I instructed Mr. Long to abstain from weightlifting and supplemented his ongoing

prescriptions with Robaxin. Robaxin is a muscle relaxant that would help to reduce or eliminate

Mr. Long’s painful muscle spasms. [Exhibit A, pg. 438].

       (103) According to his medical records, Mr. Long met with his first orthopedic surgeon,

Dr. El-Bitar, on May 21, 2018. [Exhibit A, pg. 880].

       (104) According to Dr. El-Bitar’s notes, Mr. Long reported that he had experienced

right shoulder pain for over a year, without any inciting injury and had never experienced a

dislocation. Dr. El-Bitar examined Mr. Long and reviewed previous X-rays. He recommended

Mr. Long take Ibuprofen and Tylenol for his pain, as well as an MRI of the right shoulder.

[Exhibit A, pg. 882-83].

       (105) On Jime 7, 2018,1 referred Mr. Long for a right shoulder MRI, as recommended

by Dr. El-Bitar. [Exhibit A, pg. 887].

       (106) On June 15, 2018, according to the records, Mr. Long received a right shoulder

MRI. The radiologist identified moderate tendinopathy and mild undersurface tearing affecting




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less than 30% of the tendon fibers in the rotator cuff, possible superior and posterior labral tears,

as well as a possible tendon tear of the long head of the bicep. [Exhibit A, pg. 893].

       (107) The labrum is a cup-shaped rim of cartilage that lines and reinforces the ball-and-

socket joint of the shoulder. Labral tears are common in athletes, because the force of overhead

am motion contributes to the injury. Specifically, a superior labrum anterior posterior (or SLAP)

tear is common in baseball pitchers and volleyball players, who engage in high-energy, quick-

snap motions over the top of their shoulder. Depending on the type and severity of the tear, the

injury might heal with rest and physical therapy or require surgical intervention.

       (108) The long-head biceps tendon is one of two tendons that attach the biceps muscle

to scapula bone. A biceps tendon tear can be caused by serious or prolonged exertion, especially

heavy overhead activity and shoulder overuse, or as part of an injury where the elbow is moved

or twisted in such a way as to overextend the biceps tendon. When this happens, patients

sometimes hear or feel a “pop” in their shoulder.

       (109) For most biceps tendon tears, a nonsurgical course of treatment may be advised.

Such a course of treatment may include ice, NSAIDs, rest, and physical therapy. Surgical

treatment is rarely indicated. However, some individuals, such as athletes, may require surgery to

completely regain strength in their injured am.

        (110) According to his medical records, Mr. Long’s orthopedic surgeon, Dr. El-Bitar,

reviewed the MRI on June 20, 2018. In Dr. El-Bitar’s notes, he noted the presence of labral tears

as well as the tendon rupture, however he indicated that the main problem with Mr. Long’s right

shoulder was arthritis of his glenohumeral joint. Dr. El-Bitar recommended that Mr. Long

continue conservative treatment for as long as possible. [Exhibit A, pg. 892].




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       (Ill) On July 20, 2018, according to his records, Mr. Long reported that his shoulder

pain was worsening and he requested a surgery to correct it. [Exhibit A, pg. 450],

       (112) On July 31, 2018,1 saw Mr. Long again for his shoulder pain. As this point, he

claimed the pain was intolerable. I prescribed him Tramadol, 50 mg, for two months to help him

manage his pain. Tramadol is a narcotic pain reliever that works by changing the way the brain

perceives pain. I also referred Mr. Long back to orthopedics for shoulder surgery evaluation.

[Exhibit A, pg. 451,901].

       (113) According to the records, on August 15, 2018, Mr. Long met with Dr. El-Bitar.

Mr. Long reportedly requested surgeiy for his shoulder, and Dr. El-Bitar indicated he would

refer Mr. Long to a second orthopedic surgeon for a surgical consult. In the interim, Dr. El-Bitar

recommended continued conversative treatment, including Tylenol, Ibuprofen (or other

NSAIDs), and stretching exercises to help Mr. Long manage his pain. [Exhibit A, pg. 902-05].

       (114) On August 21, 2018, Mr. Long began refusing to take Tramadol because he

reported it was ineffective and caused him constipation. Consequently, I discontinued his

Tramadol prescription but renewed his Tylenol prescription, pursuant to Dr. El-Bitar’s

recommendation. [Exhibit A, pg. 1799,457-58].

       (115) According to the records, on September 5, 2018, Mr. Long met with Dr. Carl

Painter, an orthopedic surgeon. [Exhibit A, pg. 897-99].

       (116) Dr. Painter assessed osteoarthritis and recommended that Mr. Long continue his

present treatment plan. Dr. Painter did not recommend surgery. [Exhibit A, pg. 899].

       (117) On September 24, 2018,1 consulted with Dr. Ritz regarding Mr. Long’s shoulder

treatment. We agreed that he should continue seeing an orthopedic specialist, in light of his MRI.

[Exhibit A, pg. 916].




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       (118) According to the records, Mr, Long saw Dr. Painter for a four-week follow-up

appointment. Dr. Painter again recommended that Mr. Long continue his home exercise program

(HEP) and did not recommend surgery. [Exhibit A, pg. 920-21].

       (119) On November 6, 2018, Dr. Painter met with Mr. Long for another follow-up

appointment. Based on his examination of Mr. Long’s progress, subjective reports, and objective

findings. Dr. Painter recommended a minimally invasive arthroscopic procedure to repair the

damaged tissue, rather than a shoulder replacement surgery. [Exhibit A, pg. 932-33].

       (120) On November 19, 2018, Dr. Painter performed the corrective procedure. Dr.

Painter recommended Norco to help Mr. Long manage his post-operative pain, and rest. Further,

Dr. Painter reportedly instructed Mr. Long that he could resume his normal activities on

November 20. [Exhibit A, pg. 936].

       (121) When Mr. Long returned to Graham, I approved his surgeon’s recommendations

except for the Norco prescription. Instead of Norco, I prescribed Mr. Long Tylenol #3. Both

Norco and Tylenol #3 are combinations of acetaminophen and a narcotic (codeine in Tylenol #3

and hydrocodone in Norco), which studies have shown are equally effective in managing short­

term pain. [Exhibit A, pg. 472].

       (122) After his surgery, Mr. Long continued to attend follow up appointments with his

surgeon Dr. Painter. Dr. Painter consistently noted positive improvement [Exhibit A, pg. 945,

953,493].

       (123) On January 2, 2019, a nurse practitioner at Dr. Painter’s office recommended Mr.

Long receive physical therapy for his right shoulder. [Exhibit A, pg. 963-64].

       (124) On January 3, 2019,1 referred Mr. Long for physical therapy. According to the

medical records, Mr. Long received a physical therapy evaluation on January 8, 2019. Kaci




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Cruthis, the physical therapist who evaluated Mr. Long, assigned him a list of exercises to be

completed as part of his HEP. [Exhibit A, pg. 967, 972-78].

         (125) On January 24, 2020, I saw Mr. Long after he reported numbness and tingling

radiating to his right shoulder. I ordered cervical spine and right shoulder X-rays and prescribed

Mr. Long Robaxin and Nortriptyline. [Exhibit A, pg. 436].

         (126) According to the records, Mr. Long refused to take the Nortriptyline from January

25 to March 18,2020. [Exhibit A, pg. 1938-42].

         (127) On February 14, 2020, I referred Mr. Long to see an orthopedic specialist,

regarding his continuing right shoulder pain after his surgery. [Exhibit A, pg. 1014],

         (128) On February 20, 2020, Mr. Long was approved to see an orthopedic specialist.

[Exhibit A, pg. 992].

         (129) Appointments for specialist services are handled by administrative persoruiel.

More specifically, administrative personnel from Graham will contact the outside provider to

request an appointment. The provider will then schedule the appointment based on urgency and

availability. Althou^ Mr. Long was originally scheduled to see Dr. El-Bitar on March 18, Dr.

El-Bitar’s office cancelled all appointments until further notice due to an illness outbreak.

[Exhibit A, pg. 541].

         (130) Once Dr. El-Bitar resumed taking appointments, his office scheduled Mr. Long

for a visit on June 17, 2020. [Exhibit A, pg. 546].

         (131) According to the records, Mr. Long had an appointment with Dr. El-Bitar on June

17, 2020. Dr. El-Bitar recommended a shoulder replacement surgery, and over-the-counter pain

medications to help Mr. Long manage his pain while he waited for surgery. [Exhibit A, pg. 1015-

1018].



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       (132) On June 23, 2020,1 approved Dr. El-Bitar’s recommendations and referred Mr.

Long to see an orthopedic surgeon, Dr. Sullivan. [Exhibit A, pg. 1019].

       (133) According to the records, Mr. Long first saw Dr. Sullivan on July 15, 2020.

Following his examination, Dr. Sullivan recommended that he continue conservative treatment

and Meloxicam. He indicated that he would follow up with Mr. Long in one month. [Exhibit A,

pg. 1019-20].

       (134) When Mr. Long returned to Graham, I prescribed him Meloxicam, 15 mg, for

thirty days. [Exhibit A, pg. 601].

       (135) According to the records, Mr. Long was originally scheduled to see Dr. Sullivan

for a follow up appointment on August 12, 2020. However, due to staff shortage and Mr. Long

being medically quarantined, his appointment was re-scheduled for September 16, 2020. [Exhibit

A, pg. 602-04,605-06, 609].

       (136) On September 16, 2020, according to the records, Mr. Long attended a follow-up

appointment with Dr. Sullivan. Following that appointment. Dr. Sullivan recommended a right

reverse total shoulder replacement surgery. A member of Dr. Sullivan’s staff indicated that a

nurse would contact the Graham facility to make arrangements. [Exhibit A, pg. 615,1022].

        (137) On September 18, 2020, I met with Mr. Long to review and discuss his recent

medical fixrlough. I indicated at the time that the course of treatment was to continue following

the recommendations of Mr. Long’s orthopedic surgeon. [Exhibit A, pg. 622].

        (138) On September 21, 2020, I referred Mr. Long for the recommended procedure,

which was approved on September 24,2020. [Exhibit A, pg, 1078-79].

        (139) According his medical records, Mr. Long visited Dr. Sullivan at St. Mary’s

Hospital in Decatur to begin his pre-operative workup on October 9, 2020. Dr. Sullivan




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requested several pre-operative tests, to be completed before scheduling Mr. Long’s surgeiy.

[Exhibit A, pg. 1031].

       (140) Between October 9-26, 2020, we conducted the recommended tests. [Exhibit A,

pg. 619-20, 625, 1946-50,1802].

       (141) Mr. Long’s shoulder replacement surgery was scheduled for October 28, 2020.

Mr. Long was advised to stop taking Aspirin prior to the surgery, as Aspirin may act as a blood

thinner. According the records, Mr. Long continued to take Aspirin prior and Dr. Sullivan’s

office consequently postponed the surgery. [Exhibit A, pg. 626,1036].

       (142) Mr. Long’s surgery was rescheduled for November 6, 2020. According to the

medical records, the surgery was performed on November 6, 2020, without complications.

[Exhibit A, pg. 1024-25].

       (143) Based on my education, training, and experience as a physician the care provided

to Mr. Long for hematuria and shoulder pain was appropriate and similar to that provided in the

community.




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        I declare under penalty of peijury that the foregoing is true and correct.



                                                       /s/ Francis Kayira, M.D.
                   Date                                       DR. FRANCIS KAVIRA
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